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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
_______________________________________
                                        )
IN RE: TELEXFREE SECURITIES             )
LITIGATION                              )         CIVIL ACTION
                                        )         NO. 4:14-md-02566-TSH
                                        )
______________________________________ )


 ORDER AND MEMORANDUM ON DEFENDANTS’ MOTIONS TO DISMISS (Docket
   Nos. 1287, 1291, 1294, 1297, 1299, 1301, 1303, 1305, 1307, 1310, 1311, 1316, 1317)

                                        August 31, 2022

HILLMAN, D.J.

       Numerous defendants in the TelexFree multidistrict litigation move to dismiss the Fifth

Consolidated Amended Complaint (the “5CAC”). For the reasons stated in this omnibus order:

the motions filed by The Sheffield Group, Inc. (Docket No. 1299),1 PNC Bank, N.A. (Docket No.

1301), International Payout Systems, Inc. (Docket No. 1305), Garvey Schubert Barer, P.C.

(Docket No. 1310), and PricewaterhouseCoopers LLP (Docket No. 1317) are granted; the motion

filed by The Estate of Jeffrey A. Babener (Docket No. 1311) is granted in part and denied in part;

and the motions filed by Mauricio Cardenas (Docket No. 1287), Bank of America, N.A. (Docket

No. 1291), Dustin Sparman and Vantage Payments, LLC (Docket No. 1294), TD Bank, N.A.

(Docket No. 1303), Wells Fargo Advisors LLC and Wells Fargo Bank N.A. (Docket No. 1307),

and ProPay, Inc. (Docket No. 1316) are denied.

                                          Background

       TelexFree was a billion-dollar pyramid scheme that operated from 2012 to mid-April 2014.

5CAC at ¶ 12. Holding itself out as a multilevel marketing company, TelexFree generated revenue


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           The Sheffield Group’s other motion (Docket No. 1297) is denied.
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by selling packages of Voice over Internet Protocol (“VoIP”) calling plans to “promoters.” Id. at

¶¶ 4, 116. TelexFree charged promoters $50 for membership, and then $289 for the right to sell

10 VoIP plans per month for a year, or $1,375 for the right to sell 50 VoIP plans per month for a

year. Id. at ¶¶ 147-48. In theory, promoters could make money by selling VoIP plans to

consumers. Id. at ¶¶ 115, 146, 149. The plans, however, were “impossible to sell.” Id. at ¶ 182.

No matter, TelexFree guaranteed promoters a return on investment, touting, at least until March 9,

2014, that promoters could make money “without selling anything.” Id. at ¶¶ 161-62.

       If a promoter posted TelexFree advertisements on the Internet each day, TelexFree would

“buy back” from the promoter any unsold plans for more than three times the amount the promoter

paid for them. Id. TelexFree paid promoters in “credits.” Id. at ¶ 158. Once a promoter’s credits

reached a certain balance, the promoter could withdraw the credits as cash. Id. The plaintiffs,

Anthony Cellucci and Rita Dos Santos, tendered funds for TelexFree memberships and their

promised pre-March 9, 2014 returns. Id. at ¶¶ 32-33.

       In January 2013, Brazilian regulators announced that they were investigating TelexFree in

Brazil, stating that they were concerned that TelexFree violated Brazilian laws against Ponzi

schemes. Id. at ¶ 175. In June 2013, a Brazilian court issued an injunction prohibiting TelexFree

from recruiting new promoters in Brazil, effectively closing the scheme’s operations there. Id. at

¶ 177. Although TelexFree was also under investigation here, TelexFree executives assured

promoters in the United States, like the plaintiffs, that they had nothing to worry about. Id. at ¶¶

165, 167.

       On March 9, 2014, TelexFree announced that promoters would have to sell VoIP plans to

make money. Id. at ¶ 181. The scheme’s daily revenues plummeted, and promoters began to

demand cash withdrawals of their credits. Id. at ¶ 182. Promoters made over $150 million worth



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of requests in the weeks following the announcement. Id. On April 14, 2014, the scheme

unraveled and TelexFree filed for bankruptcy. Id. at ¶ 184. The plaintiffs “suffered great financial

losses.” Id. at ¶ 1261.

       The next day, law enforcement intercepted a TelexFree executive leaving the scheme’s

Marlborough, Massachusetts headquarters with a bag containing $38 million in cashier’s checks.

Id. at ¶ 185. The following month, two of the scheme’s founders, James Merrill and Carlos

Wanzeler, were charged federally with several counts of wire fraud and conspiracy to commit wire

fraud. Id. at ¶ 188. Merrill pleaded guilty and was sentenced to six years in prison. Id. Wanzeler

fled to Brazil. Id. Years later, law enforcement intercepted an individual traveling from Brazil to

the United States to retrieve cash Wanzeler had left behind. Id. at ¶ 196. Law enforcement

followed the individual to an apartment in which they found $20 million hidden in a mattress box

spring. Id.

       Shortly after the scheme unraveled, plaintiffs filed civil actions in federal district courts

across the United States seeking to recover losses against dozens of defendants, ranging from the

operators of the scheme to their advisors, payments processors, and banks. In October 2014, the

Judicial Panel on Multidistrict Litigation joined the actions into a multidistrict litigation and

ordered transfer of all actions to the District of Massachusetts for coordinated pretrial proceedings.

       In March 2015, the plaintiffs filed their first consolidated complaint, later amending it once

as of right. Many of the defendants moved to dismiss. After a lengthy stay in favor of criminal

proceedings, the Court addressed the motions to dismiss in a series of orders in January and

February 2019. Thereafter, the plaintiffs moved to amend their complaint, in part to revive claims

against several of the dismissed defendants. In December 2021, the Court granted in part the

plaintiffs’ motion to amend, paving the way to the current operative complaint: the 5CAC. Now,



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over a dozen defendants move to dismiss the claims against them in the 5CAC. This omnibus

order addresses each motion in turn.

                                         Legal Standards

       In evaluating a Rule 12(b)(6) motion to dismiss, the Court must determine “whether,

construing the well-pleaded facts of the complaint in the light most favorable to the plaintiff[], the

complaint states a claim for which relief can be granted.” Cortés-Ramos v. Martin-Morales, 956

F.3d 36, 41 (1st Cir. 2020) (quoting Ocasio-Hernández v. Fortuño-Burset, 640 F.3d 1, 7 (1st Cir.

2011). The complaint must allege a “plausible” entitlement to relief. Bell Atl. Corp. v. Twombly,

550 U.S. 544, 559 (2007). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). For claims involving fraud, the complaint

must allege the circumstances of fraud “with particularity.” Rodi v. S. New. Enl. Sch. of Law, 389

F.3d 5, 15 (1st Cir. 2004). Even so, “intent, knowledge, and other conditions of a person’s mind

may be alleged generally.” Fed. R. Civ. P. 9(b).

       In evaluating a Rule 12(b)(1) motion to dismiss for lack of standing, the “same basic

principles apply.” Hochendoner v. Genzyme Corp., 823 F.3d 724, 730 (1st Cir. 2016). Accepting

the well-pleaded factual allegations in the complaint as true, the Court must determine whether the

complaint plausibly alleges that the plaintiff has standing to pursue his or her claims in federal

court. See Gustavsen v. Alcon Laboratories, Inc., 903 F.3d 1, 8 (1st Cir. 2018).

       In evaluating a Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction (under the

prima facie standard), the Court considers “whether the plaintiff has proffered evidence that, if

credited, is enough to support findings of all facts essential to personal jurisdiction.” Boit v. Gar-

Tec Products, Inc., 967 F.2d 671, 675 (1st Cir. 1992). The Court draws the facts from the



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plaintiffs’ pleadings and supplemental filings, see Kuan Chen v. United States Sports Academy,

Inc., 956 F.3d 45, 52 (1st Cir. 2020), taking them as true, even if disputed by the defendant, see

Adelson v. Hananel, 510 F.3d 43, 48 (1st Cir. 2001). The Court may consider the defendant’s

proffered facts “only to the extent that they are uncontradicted.” Adelson, 510 F.3d at 48.

                                           Discussion

                                            1. Banks

                    a. Wells Fargo Defendants – Docket Nos. 1287 & 1307

       The plaintiffs seek to hold Wells Fargo Bank N.A., Wells Fargo Advisors, LLC, and

Mauricio Cardenas (collectively, “the Wells Fargo Defendants”) liable for tortious aiding and

abetting.2 A claim for tortious aiding and abetting under Massachusetts law has three elements:

(1) a tortfeasor committed an underlying tort; (2) the defendant knew that the tortfeasor was

committing the underlying tort; and (3) the defendant actively participated in or substantially

assisted the tortfeasor in committing the underlying tort. See Massachusetts Port Authority v.

Turo, Inc., 166 N.E.3d 972, 981 (Mass. 2021); Go-Best Assets Ltd. v. Citizens Bank of Mass., 972

N.E.2d 426, 438 (Mass. 2012). The Wells Fargo Defendants argue that the 5CAC fails to state a

claim because it does not sufficiently plead the first element: that a tortfeasor committed an

underlying tort. See Docket No. 1288 at 11; Docket No. 1308 at 7.

       The underlying tort at issue in this case is common law fraud. To state a claim for common

law fraud under Massachusetts law, a plaintiff must allege that the defendant “made a false




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          The 5CAC also includes a claim for unjust enrichment against the Wells Fargo
Defendants. The plaintiffs, in their motion to amend, represented that they intended to reassert
their unjust enrichment claim only to preserve their appellate rights. See Docket No. 984 at 47-
48. The plaintiffs reiterate this intention in opposition to the Wells Fargo Defendants’ motions to
dismiss. See Docket No. 1342 at 13. To be clear, the unjust enrichment claim against the Wells
Fargo Defendants remains dismissed.
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representation of material fact with knowledge of its falsity for the purpose of inducing the plaintiff

to act thereon, and that the plaintiff reasonably relied upon the representation as true and acted

upon it to his damage.” Taylor v. Am. Chem. Council, 576 F.3d 16, 31 (1st Cir. 2009) (quoting

Russell v. Cooley Dickinson Hosp. Inc., 772 N.E.2d 1054, 1066 (Mass. 2002)).

       To comply with the heightened pleading requirements of Rule 9(b), a plaintiff typically

must specify “the who, what, where, and when of the allegedly false or fraudulent representation.”

Alternative Sys. Concepts, Inc. v. Synopsys, Inc., 374 F.3d 23, 29 (1st Cir. 2004). “Strict

application of the requirements of Rule 9(b) may be relaxed,” however, where the alleged

fraudulent scheme involves “numerous transactions that occur over a long period of time, and

pleading the precise specifics with regard to every instance of fraudulent conduct may be

impractical.” In re Pharm. Indus. Average Wholesale Price Litig., 478 F. Supp. 2d 164, 171-72

(D. Mass. 2007). In such cases, the plaintiff meets the pleading requirements of Rule 9(b) by

alleging the basic framework, procedures, and nature of the scheme. See 4 MVR, LLC v. Warren

W. Hill Construction Co., Inc., 2016 WL 4775451, at *3 (D. Mass. Sept. 13, 2016); In re Pharm.

Indus. Average Wholesale Price Litig., 478 F. Supp. 2d at 172; United States ex rel. Harris v.

Bernad, 275 F. Supp. 2d 1, 8 (D.D.C. 2003).

       The 5CAC alleges that TelexFree charged promoters $50 for membership, and then $289

for the right to sell 10 VoIP plans per month for a year, or $1,375 for the right to sell 50 VoIP

plans per month for a year. 5CAC at ¶¶ 147-48. The 5CAC further alleges that, without requiring

promoters to sell VoIP plans, TelexFree guaranteed promoters a return on investment of over

300%, at least until March 9, 2014, by purporting to pay promoters $1,040 for any unsold plans in

each $289 package and $5,200 for any unsold plans in each $1,375 package. Id. at ¶¶ 147-48, 181.




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The 5CAC alleges that the plaintiffs tendered funds for TelexFree memberships and their promised

pre-March 9, 2014 returns, and ultimately suffered financial losses. Id. at ¶¶ 32-33, 1261.

       Read as a whole, see Garcia-Catalan v. United States, 734 F.3d 100, 103 (1st Cir. 2013),

the 5CAC adequately pleads an underlying fraud. The promised returns to which the plaintiffs’

allegations refer are sufficiently clear: a $1,040 return for a $50 membership and a $289 package,

and a $5,020 return for a $50 membership and a $1,375 package. The timing and perpetrator of

those alleged false promises, moreover, are likewise sufficiently clear: TelexFree (the organization

and its operators) guaranteed returns until March 9, 2014, when it adjusted its compensation model

to require promoters to sell VoIP plans. Given the expanse and complexity of the scheme, the

fraudulent nature of which is otherwise undisputed, the 5CAC adequately pleads an underlying

fraud. Accordingly, the Wells Fargo Defendants’ motions to dismiss are denied.

                             b. Bank of America – Docket No. 1291

       The plaintiffs seek to hold Bank of America, N.A. (“Bank of America”) liable for tortious

aiding and abetting.3 Bank of America contends that the 5CAC fails to state a claim because it

does not sufficiently plead (1) an injury, (2) actual knowledge, (3) substantial assistance, and (4)

shared intent.

       Allegations. In February 2012, TelexFree opened two deposit accounts at Bank of America

and one merchant account at Banc of America Merchant Services, LLC (“BAMS”), Bank of

America’s payment processing division. Id. at ¶¶ 108, 304. Because TelexFree held itself out as

a passive investment scheme with guaranteed returns, Bank of America’s due diligence flagged

TelexFree as a high-risk customer. Id. at ¶¶ 217, 316.



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          The 5CAC also includes a claim for unjust enrichment against Bank of America. The
plaintiffs included it in the 5CAC only to preserve their appellate rights. See Docket No. 1347 at
23. To be clear, the unjust enrichment claim against Bank of America remains dismissed.
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       The BAMS merchant account processed payments made to TelexFree. Id. at ¶ 304. In

May 2012, BAMS informed TelexFree that it was suspending the merchant account due to a high

number of chargebacks. Id. at ¶ 311. Chargebacks indicate potentially fraudulent activity and

occur when a customer challenges or cancels a payment. Id. at ¶ 241. BAMS expressed concern

about the number of chargebacks, the number of transactions in identical amounts, and the number

of transactions originating from outside the United States. Id. at ¶ 312. Upon receiving sample

invoices from TelexFree, however, BAMS lifted the suspension and continued processing

payments. Id. at ¶ 316.

       In June 2012, BAMS informed TelexFree that its chargeback ratio was too high, and that

Bank of America was creating a reserve account from TelexFree deposits due to risks associated

with TelexFree’s “financial profile.” Id. at ¶ 318. In August 2012, after the high rate of

chargebacks persisted, BAMS closed the merchant account. Id. at ¶¶ 295, 320. That month, Bank

of America transferred $300,000 from the merchant account to a TelexFree deposit account. Id.

at ¶ 325. Later, Bank of America transferred nearly $500,000 from the deposit account back to

the merchant account for chargeback reimbursements. Id. at ¶ 335.

       Through May 2013, Bank of America allowed promoters to deposit funds into TelexFree

deposit accounts. Id. at ¶ 360. A Bank of America branch manager in Massachusetts even

authorized and encouraged promoters to deposit cash in person at a local Bank of America branch.

Id. at ¶ 342. Bank of America also allowed TelexFree to withdraw funds from deposit accounts.

Id. at ¶ 360. Between February 2013 and May 2013, TelexFree withdrew at least $8 million, and,

at one point, TelexFree co-founder Merrill wired himself almost $850,000. Id. at ¶¶ 360-61.

       During this time, Bank of America also provided banking services to TelexFree co-founder

Wanzeler and entities controlled by Wanzeler and/or Merrill. Id. at ¶ 346. In early 2013, as



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Brazilian authorities announced that they were investigating TelexFree in Brazil, Wanzeler

transferred approximately $11.75 million from a bank account in Brazil to an account he held

jointly with his wife at Bank of America. Id. at ¶ 358. Shortly thereafter, Wanzeler transferred at

least $7.75 million to other accounts controlled by him (or associates), both inside and outside

Bank of America. Id.

       In May 2013, Bank of America closed many of the accounts associated with TelexFree,

including the main TelexFree deposit account and the joint account Wanzeler held with his wife.

Id. at ¶ 369. Rather than freezing the funds in those accounts, Bank of America issued cashier’s

checks for their remaining balances. Id. at ¶ 370. Thereafter, the plaintiffs allege, Bank of America

“continued to maintain some accounts used by TelexFree.” Id. at ¶ 291.

       Late in 2013, Edwin Gonzalez, the President of one of TelexFree’s payment processors,

International Payout Systems, Inc. (“IPS”), arranged for Kevin Staten, a Senior Vice President at

Bank of America, to speak with Joseph Craft, TelexFree’s Chief Financial Officer, regarding a

new TelexFree account at Bank of America. Id. at ¶¶ 373-74. Gonzalez told Staten that because

IPS was handling TelexFree’s payment processing, there would be fewer chargebacks and a lower

financial risk for Bank of America. Id. at ¶ 374. Staten told Craft that Bank of America was

concerned that TelexFree’s operations were not legal. Id. at ¶ 375. Staten further indicated that

he was aware that Bank of America had previously conducted business with TelexFree and had

closed TelexFree accounts. Id. Nonetheless, Staten agreed to open a new account for TelexFree,

which was opened on February 6, 2014. Id. at ¶¶ 376, 379. On February 18, 2014, TelexFree




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deposited $475,713.43 into the account. Id. at ¶ 380. On February 21, 2014, Bank of America

closed the account, refunding the full balance to TelexFree.4 Docket No. 1293 at ¶ 11.

       On March 17, 2014, Bank of America wired $30 million from an IPS account at Bank of

America to a TelexFree account at Wells Fargo Bank. Id. at ¶¶ 364, 382. The transaction statement

for the wire referenced “Telex Balance.”5 Docket No. 1382-1 at 1.

       Injury. Bank of America contends that the 5CAC does not properly plead an actual injury.

See Docket No. 1292 at 30. The plaintiffs allege that they bought into a billion-dollar pyramid

scheme and suffered financial losses. Id. at ¶¶ 1, 12, 32-33, 1261. The plaintiffs’ injuries plainly

are plausible, and the cases on which Bank of America relies to argue otherwise are inapposite.

Three of the cases Bank of America cites concern conduct that is less obviously damaging. See

Giannetta v. Boucher, 1992 WL 379416, at *4-5 (1st Cir. 1992) (a change in credit rating); Fine

v. Sovereign Bank, 2010 WL 3001194, at *6 (D. Mass. Jul. 28, 2010) (a “post-fraud” failure to

investigate); Nguyen v. FXCM Inc., 364 F. Supp. 3d 227, 240 (S.D.N.Y. 2019) (an undisclosed

conflict of interest). In the fourth case Bank of America cites, the plaintiff invested into an entity

that had previously been the victim of a fraudulent transaction. See Burns v. Stratos, 2022 WL

212303, at *1, 6-7 (E.D. Pa. Jan. 24, 2022). Here, by contrast, the 5CAC indicates that the

plaintiffs invested into the ongoing fraudulent scheme.




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         This fact is not included in the 5CAC, but the plaintiffs do not dispute it, and it is based
on documents central to the plaintiffs’ claim and sufficiently referenced in the 5CAC. See
Watterson v. Page, 987 F.2d 1, 3 (1st Cir. 1993). The plaintiffs’ motion to strike Bank of
America’s declaration (Docket No. 1348), which takes issue with the declaration primarily for
other reasons (namely, its assertion that no Bank of America employee assisted TelexFree in
opening the account), is denied.
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          Just as the Bank of America account statements are sufficiently referenced in the 5CAC,
so too is the Wells Fargo Bank account statement memorializing the $30 million transfer. 5CAC
at ¶¶ 364, 468.
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          Actual knowledge. Bank of America argues that the 5CAC does not properly plead actual

knowledge. See Docket No. 1292 at 21. To state a claim for tortious aiding and abetting, a plaintiff

must allege facts which give rise to a “strong inference” that the defendant “actually knew” that

the underlying tort was being committed. See Vasquez v. Hong Kong and Shanghai Banking Corp.

Ltd., 2019 WL 2327810, at *17 (S.D.N.Y. May 30, 2019); Mansor v. JPMorgan Chase Bank, N.A.,

183 F. Supp. 3d 250, 264 (D. Mass. 2016); El Camino Resources, LTD v. Huntington Nat. Bank,

722 F. Supp. 2d 875, 907 (W.D. Mich. 2010). While allegations of constructive knowledge are

insufficient, see Lerner v. Fleet Bank, N.A., 459 F.3d 273, 293 (2d Cir. 2006); Go-Best, 972 N.E.2d

at 432; Cahaly v. Benister Prop. Exch. Trust. Co., Inc., 885 N.E.2d 800, 812 (Mass. 2008), a

plaintiff may rely on circumstantial evidence, see Zayed v. Associated Bank, N.A., 913 F.3d 709,

715 (8th Cir. 2019); Silvercreek Mgmt., Inc. v. Citigroup, Inc., 346 F. Supp. 3d 473, 487 (S.D.N.Y.

2018).

         The 5CAC does not support an inference that, before June 2013, Bank of America had

actual knowledge that TelexFree was operating a fraudulent scheme. While the plaintiffs argue

that Bank of America had actual knowledge of the fraud as early as August 2012, an account

closure due to suspicious activity does not, on its own, give rise to a strong inference of actual

knowledge. See Docket No. 1176 at 13; see also Ryan v. Hunton & Williams, 2000 WL 1375265,

at *9 (E.D.N.Y. Sept. 20, 2000).

         The 5CAC does support an inference, however, that Bank of America had actual

knowledge that TelexFree was operating a fraudulent scheme by late 2013. By then, not only had

TelexFree been shut down in Brazil, but Bank of America had closed TelexFree accounts due to

suspicious activity and openly informed TelexFree that it was concerned that TelexFree was

operating illegally. These allegations give rise to a strong inference of actual knowledge. See



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Silvercreek, 346 F. Supp. 3d at 487 (noting that “circumstantial evidence can be sufficient to

support a finding of actual knowledge”); see also Carbon Investment Partners, LLC v. Bressler,

2021 WL 3913526, at *5 (S.D.N.Y. Sept. 1, 2021).

       Substantial assistance. Bank of America contends that the 5CAC does not properly plead

substantial assistance. See Docket No. 1292 at 11. To state a claim for tortious aiding and abetting,

a plaintiff must allege that the defendant’s actions were a “substantial factor” in the tortfeasor’s

ability to commit the underlying tort. See Turo, 166 N.E.3d at 981. The provision of routine

banking services typically does not constitute substantial assistance. See In re Agape Litig., 681

F. Supp. 2d 352, 365 (E.D.N.Y. 2010). However, when a bank has actual knowledge that its

routine services are assisting a customer in committing a specific tort, the provision of those

services may constitute substantial assistance. See Mansor, 183 F. Supp. 3d at 269; El Camino,

722 F. Supp. 2d at 911; see also Turo, 166 N.E.3d at 983. Indeed, factual allegations supporting

a reasonable inference that a defendant’s conduct enabled a perpetrator to maintain an illegal

pyramid scheme and abscond with investor funds are sufficient at the pleading stage to establish

substantial assistance. See Mansor, 183 F. Supp. 3d at 268; see also Sihler v. Fulfillment Lab, Inc.,

2021 WL 1293839, at *5 (S.D. Cal. Apr. 7, 2021); Benson v. JPMorgan Chase Bank, N.A., 2010

WL 1526394, at *5 (N.D. Cal. Apr. 15, 2010).

       The plaintiffs allege that, after Bank of America acquired actual knowledge of the

underlying fraud, Bank of America “continued to maintain some accounts used by TelexFree,”

opened a new TelexFree account in February 2014, and wired $30 million from an IPS account to

a TelexFree account at Wells Fargo Bank on March 17, 2014. 5CAC at ¶¶ 291, 364, 379.

       The allegation that Bank of America “continued to maintain some accounts used by

TelexFree” is conclusory and fails to meet the heightened pleading requirements of Rule 9(b). See



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Penalbert-Rosa v. Fortuna-Burset, 631 F.3d 592, 595 (1st Cir. 2011); In re State Street Cases,

2013 WL 5508151, at *22 (D. Mass. Aug. 21, 2013). In addition, the plaintiffs’ briefing indicates

that these accounts were affiliated with TelexFree only indirectly. See Docket No. 1347 at 6, 16.

Importantly, the 5CAC does not support an inference that Bank of America had actual knowledge

that these indirectly affiliated accounts were connected to the fraudulent scheme.

       The allegation that Bank of America opened a new deposit account in February 2014

likewise does not constitute substantial assistance. The account was closed days later, and the only

deposit made into the account was refunded. See El Camino, 722 F. Supp. 2d at 911 (assistance

must further the fraud, not merely aid the tortfeasor, to be considered substantial). Bank of

America had no affirmative duty to freeze the funds, see Lerner, 459 F.3d at 295, and TelexFree

was left in an essentially unchanged position by the brief opening and closure of the account.

       The allegation that Bank of America transferred $30 million to a TelexFree account at

Wells Fargo Bank on March 17, 2014, however, plausibly constitutes substantial assistance. By

March 17, 2014, TelexFree had announced changes to its compensation model and droves of

TelexFree promoters had begun to request withdrawal of their credits. The scheme would unravel

less than one month later. It is plausible, therefore, that Bank of America’s facilitation of a $30

million transfer from IPS to TelexFree on March 17, 2014 substantially aided TelexFree in

absconding with victim funds.      Indeed, the day after TelexFree filed for bankruptcy, law

enforcement intercepted Craft leaving the TelexFree headquarters with $38 million in cashier’s

checks issued by Wells Fargo Bank; later, law enforcement uncovered $20 million in cash in an

apartment connected to Wanzeler.

       Importantly, on March 17, 2014, it is plausible that Bank of America knew that TelexFree

was operating a fraudulent pyramid scheme, that IPS was processing payments for the fraudulent



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scheme, and that the transfer from IPS to a TelexFree account at Wells Fargo Bank would further

the scheme. TelexFree had been shut down in Brazil, Bank of America had previously closed

TelexFree accounts, and Bank of America was concerned that TelexFree was operating illegally.

Gonzalez had told Staten that IPS was processing payments for TelexFree. And the reference

notation on the wire transfer -- which was sent to an account belonging to TelexFree, LLC -- was

“Telex Balance.” As noted, where a bank has actual knowledge that its services are facilitating

fraud, those services can constitute substantial assistance. See Mansor, 183 F. Supp. 3d at 269.6

       Accepting the factual allegations in the 5CAC as true, the plaintiffs’ financial losses

plausibly were a direct and reasonably foreseeable result of Bank of America’s facilitation of the

$30 million transfer. Embedded in the substantial assistance requirement is a proximate cause

analysis, which requires determining whether the plaintiff’s injury is a direct or reasonably

foreseeable result of the defendant’s conduct. See Silvercreek, 346 F. Supp. 3d at 487-88; see also

Saunwin Int’l Equities Fund LLC v. Donville Kent Asset Mgmt. Inc., 2018 WL 3543533, at *17

(D. Mass. Jul. 20, 2018). Here, it is at least plausible that the $30 million transfer enabled

TelexFree insiders to abscond with investor funds, such as funds invested by plaintiffs, as the

scheme unraveled.

       Shared intent. Bank of America asserts that the 5CAC does not properly plead shared

intent. See Docket No. 1292 at 27. To the extent shared intent is a required element of tortious

aiding and abetting under Massachusetts law, see Turo, 166 N.E.3d at 983 n.4; Planned

Parenthood League of Mass., Inc. v. Blake, 631 N.E.2d 985, 993-94 (Mass. 1994), the allegations




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          To reiterate, the allegations in the 5CAC suggest more than routine banking services
coupled with suspicions of fraudulent activity. See In re Agape Litig., 681 F. Supp. 2d at 365. The
allegations suggest routine banking services coupled with actual knowledge of fraudulent activity.


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supporting an inference that Bank of America furthered the TelexFree scheme despite knowledge

of its fraudulent nature also support an inference that Bank of America acted with the requisite

shared intent, see Mansor, 183 F. Supp. 3d at 273 (finding that a plaintiff had adequately pled

shared intent by alleging repeated assistance, coupled with actual knowledge).

       The 5CAC states a plausible claim for tortious aiding and abetting against Bank of

America. Accordingly, Bank of America’s motion to dismiss is denied.

                                    c. PNC – Docket No. 1301

       The plaintiffs seek to hold PNC Bank, N.A. (“PNC”) liable for tortious aiding and

abetting.7 PNC argues that the 5CAC fails to state a claim because, inter alia, it does not

sufficiently allege actual knowledge. See Docket No. 1302 at 15.

       Allegations. PNC opened two deposit accounts for TelexFree in December 2013. Id. at ¶

653. When so doing, PNC was advised that TelexFree was a multilevel marketing company; that

TelexFree was having trouble obtaining financial services; that TelexFree had been shuttered in

Brazil; and that TelexFree had ongoing legal issues regarding its compensation plan. Id. at ¶ 654.

Through its due diligence, PNC also learned that TelexFree had a history of excessive chargebacks,

and that TelexFree guaranteed massive returns for passive activity to its promoters. Id. at ¶ 656.

       On January 14, 2014, PNC transferred nearly $4.5 million in TelexFree funds to TelexFree

co-founder Wanzeler’s personal account at a bank in Singapore. Id. at ¶ 659. From February 2014

to March 2014, PNC processed over thirty transactions for TelexFree, totaling more than $1.5

million. Id. at ¶ 662. In February 2014, PNC accepted over $10 million in deposits for TelexFree,



       7
         The 5CAC also includes a claim for unjust enrichment against PNC. The Court has not
previously dismissed an unjust enrichment claim against PNC. Nonetheless, for the reasons stated
in the Court’s previous orders, see, e.g., Docket No. 602 at 6-7, the 5CAC fails to state a claim for
unjust enrichment against PNC.


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including deposits from TelexFree payment processors. Id. at ¶¶ 661, 664. When TelexFree filed

for bankruptcy in April 2014, PNC held approximately $2.4 million in TelexFree deposits. Id. at

¶ 668. In bankruptcy filings, TelexFree listed PNC as providing its “primary operating account,”

which was “imperative” to its continued operations. Id. at ¶ 666.

       Actual knowledge. The 5CAC does not permit a strong inference that PNC had actual

knowledge of the underlying fraud. The allegations concern only red flags. See Berdeaux v.

OneCoin Ltd., 561 F. Supp. 3d 379, 412-14 (S.D.N.Y. 2021). In contrast to other bank defendants,

such as Bank of America, there are no allegations relating to how PNC processed or responded to

the red flags. For example, there is no allegation that PNC closed any TelexFree accounts due to

suspicious activity or expressed concern to TelexFree that its operations were illegal. The

allegations against PNC suggest at most that PNC should have known that TelexFree was a fraud,

not that PNC knew that TelexFree was a fraud. Therefore, PNC’s motion to dismiss is granted.

                                  d. TD Bank – Docket No. 1303

       The plaintiffs seek to hold TD Bank, N.A. (“TD Bank”) liable for tortious aiding and

abetting.8 TD Bank contends that the 5CAC fails to state a claim because it does not sufficiently

allege (1) an injury caused by an underlying fraud, (2) actual knowledge, (3) substantial assistance,

and (4) shared intent.

       Allegations. In September 2012, TD Bank opened a deposit account for TelexFree, LLC.

Id. at ¶ 524. The account was quickly “red flagged” for suspicious activity because it did not

match TelexFree’s reported business profile. Id. at ¶ 529. Beginning in January 2013, the account

saw a pattern of large, round dollar deposits, again raising red flags. Id. at ¶ 532. By February



       8
         The 5CAC also includes a claim for unjust enrichment against TD Bank. The plaintiffs
included this claim only to preserve their appellate rights. See Docket No. 1351 at 9. To be clear,
the unjust enrichment claim against TD Bank remains dismissed.
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2013, TD Bank’s ongoing due diligence uncovered several “high-profile websites” that had

branded TelexFree a “fraude.” Id. at ¶ 535. In May 2013, TD Bank began restricting banking

services to TelexFree, including effectively blocking withdrawals from and restricting wire

transfers to the TelexFree, LLC account. Id. at ¶¶ 537-38. On July 10, 2013, TD Bank unilaterally

closed the account due to suspicious activity. Id. at ¶ 541.

        A month earlier, on June 6, 2013, TD Bank had opened a second deposit account for

TelexFree, LLC. Id. at ¶ 543. The due diligence involved in opening that account revealed that

TelexFree had mounting legal challenges in Brazil. Id. at ¶ 545. Indeed, TD Bank later informed

TelexFree co-founder Merrill that it had concerns regarding TelexFree’s negative publicity and

issues in Brazil. Id. at ¶ 540.

        Nonetheless, in July 2013, after TD Bank closed the first TelexFree, LLC account, TD

Bank transferred most of the funds in the closed account to the second account. Id. at ¶ 546. On

August 8, 2013, furthermore, TD Bank opened a deposit account for TelexFree, Inc., noting that

TelexFree was an existing customer, and listing Merrill as the signatory. Id. at ¶ 555. By

September 3, 2013, TelexFree was using the TelexFree, Inc. account to accept incoming bulk

credit card payments from one of its payment processors and to process refunds to participants in

the form of chargebacks. Id. at ¶ 546.

        On September 9, 2013, TD Bank opened a third account for TelexFree, LLC, redirecting

funds from the second account to this new account. Id. at ¶¶ 557, 559, 598. On September 17,

2013, for instance, TD Bank transferred nearly $4 million from the second account to the third

account, with the words, “1-800-893-8554 Fraud unit to transfer funds,” written on the transaction

receipt. Id. at ¶ 598.




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       On October 18, 2013, a TD Bank employee authorized a $3 million transfer between the

second and third account, and six minutes later, a $3 million withdrawal from the third account,

and one minute after that, a $3 million deposit into the TelexFree, Inc. account. Id. at ¶ 602. When

TD Bank ultimately closed the third TelexFree, LLC account, it issued TelexFree a check totaling

over $18 million. Id. at ¶ 610. Concerned that a single deposit of $18 million would raise flags at

other banks, Merrill returned the check to TD Bank, which agreed to break the check into smaller

amounts. Id. at ¶ 612.

       Injury caused by an underlying fraud. TD Bank argues that the 5CAC does not plead an

injury caused by an underlying fraud. See Docket No. 1304 at 14. As explained with respect to

the Wells Fargo Defendants, the 5CAC adequately alleges an underlying fraud. Moreover, the

5CAC specifically alleges that, in reliance on the misrepresentations of TelexFree and its

operators, the plaintiffs “paid artificially inflated prices for worthless membership interests,

suffered great financial losses, and . . . incurred considerable expenses and loss of income.” 5CAC

at ¶ 1261. The allegations that the plaintiffs lost money after tendering funds to a pyramid scheme

plainly are plausible.

       Actual knowledge. TD Bank asserts that the 5CAC does not plead actual knowledge. See

Docket No. 1304 at 15. The 5CAC’s allegations of red flags -- suspicious transactions and high-

profile websites declaring TelexFree a fraud -- are insufficient on their own to establish actual

knowledge. However, the 5CAC also includes allegations of TD Bank’s reactions to the red flags:

namely, discussions between TD Bank and TelexFree concerning the scheme’s negative publicity

and shutdown in Brazil. This is not a case where, despite certain suspicious activity, a bank failed

to detect an underlying fraud. See, e.g., Go-Best, 972 N.E.2d at 431-32. Rather, TD Bank’s

reactions to red flags, as alleged in the 5CAC, constitute circumstantial evidence that TD Bank



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“actually knew” that TelexFree was a fraud. See Silvercreek, 346 F. Supp. 3d at 487; Carbon

Investment Partners, 2021 WL 3913526, at *5.

       Substantial assistance.   TD Bank argues that the 5CAC does not plead substantial

assistance. See Docket No. 1304 at 26. The 5CAC alleges that TD Bank transferred TelexFree

funds from account to account to help TelexFree conceal the source of its funds. After TD Bank

shut down its first TelexFree account, TD Bank transferred funds from the first account to a second

account. TD Bank later transferred funds from the second account to a third account, with the

words, “1-800-893-8554 Fraud unit to transfer funds,” written on the transaction receipt. TD Bank

then authorized large transfers between accounts in rapid succession. The 5CAC suggests that

these services allowed TelexFree insiders to abscond with funds and extend the duration of the

fraud. Given the inference of actual knowledge, these allegations are sufficient at the pleading

stage to establish substantial assistance. See Mansor, 183 F. Supp. 3d at 269.

       Shared intent. TD Bank contends that the 5CAC does not plead shared intent. See Docket

No. 1304 at 23. The same alleged facts that support an inference that TD Bank knew of the

underlying fraud yet continued to assist the underlying fraud by helping TelexFree conceal and

abscond with funds also support an inference that TD Bank shared TelexFree’s intent to defraud.

See Mansor, 183 F. Supp. 3d at 273.

       The 5CAC plausibly states a tortious aiding and abetting claim against TD Bank.

Accordingly, TD Bank’s motion to dismiss is denied.

                                      2. Payment Processors

                  a. Vantage Payments & Dustin Sparman – Docket No. 1294

       The plaintiffs seek to hold Vantage Payments, LLC (“Vantage”) and its managing partner,

Dustin Sparman, liable for tortious aiding and abetting. The plaintiffs also seek to hold Sparman



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liable for civil conspiracy.9 Vantage and Sparman argue that, as to tortious aiding and abetting,

the 5CAC does not sufficiently allege actual knowledge and substantial assistance, and as to civil

conspiracy, a tortious act taken in furtherance of the conspiracy.

       Allegations. Vantage acted as a broker for TelexFree in securing and maintaining payment

processing services from August 2013 to April 2014. 5CAC at ¶ 765. When Vantage began

working with TelexFree, Vantage was aware that TelexFree operated a multilevel marketing

scheme that guaranteed returns for passive investments, and that TelexFree’s business model could

not support the returns it promised. Id. at ¶ 767. Nonetheless, Vantage solicited payments

processors for TelexFree and registered an entity, TelexFree, LTD, in the United Kingdom to serve

the scheme’s EU-based operations. Id. at ¶ 769, 772.

       In October 2013, one of TelexFree’s payment processors, Allied Wallet, informed

TelexFree that, due to an increase in payment volume and chargebacks, it would be increasing its

“rolling reserve” on TelexFree’s processing account. Id. at ¶ 774. Thereafter, Sparman negotiated

extensively with Allied Wallet to have the rolling reserve reduced. Id. at ¶¶ 707, 775. Allied

Wallet eventually agreed to reduce the rolling reserve to its original amount. Id. at ¶ 777. Sparman

also negotiated for Allied Wallet to increase its processing volume for TelexFree. Id. at ¶¶ 707,

777, 797.

       Aiding and abetting. The Court previously determined, based on a review of evidence

submitted in conjunction with the plaintiffs’ motion for a preliminary injunction, that the plaintiffs

have a reasonable likelihood of success on their tortious aiding and abetting claim against Vantage




       9
         The 5CAC also includes a claim for unjust enrichment against Vantage and Sparman.
The plaintiffs included this claim only to preserve their appellate rights. See Docket No. 1355 at
17. To be clear, the unjust enrichment claim against Vantage and Sparman remains dismissed.


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and Sparman. See Docket No. 1128. In their motion to dismiss the 5CAC, Vantage and Sparman

ask the Court to reconsider that determination, essentially because the allegations in the 5CAC

lack specificity.10   See Docket No. 1295 at 1-2.      The purpose of Rule 9(b)’s particularity

requirement is to put the defendants on notice of the plaintiffs’ claims and prevent frivolous

charges. See New Engl. Data Servs., Inc. v. Becher, 829 F.2d 286, 289 (1st Cir. 1987). Indeed, a

plaintiff is not required to plead evidence. See Miss. Pub. Employees’ Ret. Sys. v. Bos. Sci. Corp.,

523 F.3d 75, 90 (1st Cir. 2008). In the circumstances of this case, where the parties have conducted

discovery and submitted evidence to the Court, which the Court has then considered to determine

that the plaintiffs have a reasonable likelihood of success on the merits, it makes little sense to

dismiss the plaintiffs’ claims under Rule 9(b). In any event, the 5CAC plausibly alleges that

Vantage and Sparman are liable for tortious aiding and abetting.

       Conspiracy. Sparman argues that the 5CAC does not adequately plead a “common design”

conspiracy, see Docket No. 1295 at 19-20, which requires proof of a tortious act taken in

furtherance of the conspiracy, see Thomas v. Harrington, 909 F.3d 483, 490 (1st Cir. 2018). In

response, the plaintiffs indicate that they are alleging a “substantial assistance” conspiracy, see

Docket No. 1355 at 21-22, which mirrors a claim for tortious aiding and abetting, see Kurker v.

Hill, 689 N.E.2d 833, 837 (Mass. App. Ct. 1998); see also Thomas, 909 F.3d at 491. The 5CAC

alleges both theories of civil conspiracy. See 5CAC at ¶¶ 1221, 1223-24, 1228. Because the

plaintiffs offer no response to Sparman’s argument that they fail to plead a “common design”



       10
          Vantage and Sparman also contend that the Court’s analysis in the preliminary injunction
order was incorrect. See Docket No. 1295 at 3. Consistent with the principles in El Camino, 722
F. Supp. 2d at 897, however, the case on which Vantage and Sparman primarily rely, the Court
considered the likelihood that Vantage and Sparman had actual knowledge that TelexFree was
operating a fraudulent scheme, as well as the likelihood that Vantage and Sparman knowingly and
substantially assisted that scheme. See Docket No. 1128 at 9-11.

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conspiracy, that theory is abandoned as to Sparman. See Nikijuluw v. Gonzales, 427 F.3d 115, 120

n.3 (1st Cir. 2005). However, because the 5CAC states a claim against Sparman for tortious aiding

and abetting, the 5CAC also states a claim against Sparman for “substantial assistance” conspiracy.

See Kurker, 689 N.E.2d at 837 n.5.

       Accordingly, the motion to dismiss filed by Vantage and Sparman is denied.

                       b. International Payout Systems – Docket No. 1305

       The plaintiffs seek to hold International Payout Systems, Inc. (“IPS”) liable for tortious

aiding and abetting and civil conspiracy. The 5CAC also includes a claim for unjust enrichment

against IPS. IPS argues only that the unjust enrichment claim should be dismissed. See Docket

No. 1306 at 1-2. The plaintiffs, in their motion to amend, represented that they intended to reassert

their unjust enrichment claim only to preserve their appellate rights. See Docket No. 984 at 47-

48. The plaintiffs reiterate this intention in response to IPS’s motions to dismiss. See Docket No.

1336 at 2. To be clear, the unjust enrichment claim against IPS remains dismissed. To the extent

IPS’s motion seeks to dismiss the unjust enrichment claim, therefore, it is granted.

                                  c. ProPay – Docket No. 1316

       The plaintiffs seek to hold ProPay, Inc. (“ProPay”) liable for tortious aiding and abetting.11

ProPay provided payment processing services to TelexFree from October 2012 to at least January

2014, processing at least $110 million in payments for TelexFree during that time. 5CAC at ¶¶

713, 717. Meanwhile, ProPay was aware of TelexFree’s business model and legal issues in Brazil.

Id. at ¶ 715. In an email to another payment processor, ProPay characterized TelexFree as an

extremely high-risk client and indicated that no United States bank or processor would be willing



       11
          The 5CAC also includes a claim for unjust enrichment against ProPay. The plaintiffs
included this claim only to preserve their appellate rights. See Docket No. 1341 at 7. To be clear,
the unjust enrichment claim against ProPay remains dismissed.
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to take on TelexFree as a client given that risk. Id. at ¶ 723. ProPay argues that the 5CAC fails to

demonstrate the plaintiffs’ Article III standing.12 To establish standing, the plaintiffs must

demonstrate that they have “(1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

       To demonstrate injury, the plaintiffs must show “‘an invasion of a legally protected

interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not conjectural or

hypothetical.’” Id. at 339 (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). The

“particularization” aspect of this showing “reflects the commonsense notion that the party

asserting standing must not only allege injurious conduct attributable to the defendant but also

must allege that he, himself, is among the persons injured by that conduct.” Hochendoner, 823

F.3d at 731-32. In a class action, the named plaintiffs “must allege and show that they personally

have been injured, not that injury has been suffered by other, unidentified members of the class to

which they belong.” Warth v. Seldin, 422 U.S. 490, 502 (1975). Here, the plaintiffs allege that

they suffered financial losses. 5CAC at ¶ 1261. This is sufficient at the pleading stage to establish

an injury in fact. See Nat. Res. Def. Council, Inc. v. U.S. Food & Drug Admin., 710 F.3d 71, 85

(2d Cir. 2013) (“Even a small financial loss is an injury for purposes of Article III standing.”).

       To demonstrate traceability, the plaintiffs must show “a sufficiently direct causal

connection between the challenged action and the identified harm.” Dantzler, Inc. v. Empresas

Berrios Inventory & Operations, Inc., 958 F.3d 38, 47 (1st Cir. 2020). “Because the opposing




       12
          ProPay also asserts that the 5CAC does not adequately plead tortious aiding and abetting.
See Docket No. 1316-1 at 9. ProPay acknowledges, however, that the Court rejected this argument
in denying its earlier motion to dismiss. See Docket No. 600. ProPay represents that it has
reasserted the argument to avoid waiver. See Docket No. 1316-1 at 9.
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party must be the source of the harm, causation is absent if the injury stems from the independent

action of a third party.” Katz v. Pershing, LLC, 672 F.3d 64, 71-72 (1st Cir. 2012). A third party’s

action is not “independent,” however, if it was aided and abetted by the defendant, see Mastafa v.

Australian Wheat Bd. Ltd., 2008 WL 4378443, at *2-3 (S.D.N.Y. Sept. 25, 2008), provided that

the defendant and the third party had a direct relationship, see Abecassis v. Wyatt, 704 F. Supp. 2d

623, 643 (S.D. Tex. 2010). Here, the plaintiffs allege that ProPay substantially assisted the

fraudulent scheme by processing over $100 million in payments for TelexFree. 5CAC at ¶¶ 714,

717. By alleging that ProPay furthered the unlawful scheme -- whether before or after their

investments -- the plaintiffs have sufficiently established at the pleading stage that their losses are

“fairly traceable” to ProPay. See Attias v. Carefirst, Inc., 856 F.3d 620, 629 (1st Cir. 2017)

(“Article III standing does not require that the defendant be the most immediate cause, or even a

proximate cause, of the plaintiffs’ injuries; it requires only that those injuries be ‘fairly traceable’

to the defendant.”).

        The plaintiffs’ allegations are sufficient to establish Article III standing.        See In re

TelexFree Securities Litig., 358 F. Supp. 3d 118, 121 (D. Mass. 2019). Accordingly, ProPay’s

motion is denied.

                                              3. Advisors

                        a. The Sheffield Group – Docket Nos. 1297 & 1299

        The plaintiffs seek to hold The Sheffield Group, Inc. (“Sheffield”) liable for tortious aiding

and abetting and civil conspiracy.13 Sheffield moves to dismiss the 5CAC for lack of personal

jurisdiction, as well as for failure to state a claim.




        13
         The 5CAC also includes a claim for unjust enrichment against Sheffield. The Court has
not previously dismissed an unjust enrichment claim against Sheffield. Nonetheless, for the
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       Allegations. From August 2013 to April 2014, Sheffield provided business consulting

services to TelexFree, advising the scheme on compensation plans, software selection, operations,

strategy, and coordination with financial institutions. 5CAC at ¶ 1092. In August 2013, TelexFree

legal advisor Jeffrey Babener informed Sheffield that TelexFree operated an unlawful business.

Id. at ¶¶ 1081-83. Sheffield understood that it was responsible for creating “a document that gives

[Babener] a tool for defense if needed.” Id. at ¶ 1105. In September 2013, Sheffield requested

that its name be removed from the TelexFree website due to the “controversy” surrounding the

scheme. Id. at ¶ 1089.

       In September 2013, Sheffield recruited an Internet marketing expert to work with

TelexFree. Id. at ¶ 1108. Although the marketing expert was hesitant, he agreed to provide

services, and in fact did, after Sheffield vouched for TelexFree’s leadership team. Id. at ¶ 1109.

Sheffield similarly helped TelexFree find staffing and IT services from October 2013 to March

2014. Id. at ¶ 1111.

       In December 2013, an email between two Sheffield consultants noted that while it was

important to achieve a legally defensible compensation plan, it was “equally important” that that

plan work financially “so as not to create significant losses in revenue due to a flawed approach.”

Id. at ¶ 1099. That same month, Sheffield warned TelexFree that although a certain proposed

approach “may be a legal remedy, it could spell disaster from a business perspective,” resulting in

“massive, and unnecessary, short-term attrition.” Id. at ¶¶ 1100, 1102.

       Sheffield ultimately helped TelexFree develop the updated compensation plan that

TelexFree publicly announced on March 9, 2014. Id. at ¶ 1103. Babener informed Sheffield that




reasons stated in the Court’s previous orders, see, e.g., Docket No. 602 at 6-7, the 5CAC fails to
state a claim for unjust enrichment against Sheffield.
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the plan was “subject to questioning” even though it was “light years ahead of the existing

problematic program from a compliance defense standpoint.” Id. at ¶ 1104. Sheffield made clear

that the plan only worked as a pyramid scheme. Id. at ¶¶ 186, 1101.

       Sheffield is incorporated in Arizona and has its principal place of business in Scottsdale,

Arizona. Docket No. 1298-1 at ¶ 3. Sheffield maintains an office in Arizona, and all its employees

work out of that office, except for one, who works remotely from and lives in Kansas. Id. at ¶ 5.

Sheffield began advising TelexFree after Babener, who was based in Oregon, solicited Sheffield

do so. Id. at ¶ 8. Sheffield advised TelexFree pursuant to a consulting agreement, which identified

TelexFree’s principal place of business as Marlborough, Massachusetts. Docket No. 1359-1.

Sheffield performed its consulting work for TelexFree in Arizona; no Sheffield employee ever

traveled to Massachusetts for work with TelexFree. Docket No. 1298-1 at ¶¶ 8-9.

       Personal jurisdiction. Sheffield contends that the 5CAC should be dismissed for lack of

personal jurisdiction. See Docket No. 1298. The plaintiffs bear the burden of demonstrating

personal jurisdiction (1) under the Massachusetts long-arm statute14 and (2) consistent with due

process. See Motus, LLC v. CarData Consultants, Inc., 23 F.4th 115, 124 (1st Cir. 2022).

       The plaintiffs contend that Sheffield is subject to personal jurisdiction under the

Massachusetts long-arm statute because Sheffield, through its consulting services, “transact[ed] .

. . business” in Massachusetts, see M. G. L. c. 233A, § 3(a), and “contract[ed] to supply services”

in Massachusetts, see id. at § 3(b).

       In determining whether a defendant “transact[ed] . . . business” in Massachusetts, courts

consider broadly “whether the defendant attempted to participate in the commonwealth’s



       14
           Because Sheffield was added to this litigation via the MDL, personal jurisdiction must
be proper in the MDL court’s home state, Massachusetts. See In re Takata Airbag Prod. Liab.
Litig., 396 F. Supp. 3d 1101, 1137 (S.D. Fla. 2019).
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economic life.” United Elec., Radio & Mach. Workers of Am. v. 163 Pleasant St. Corp., 960 F.2d

1080, 1087 (1st Cir. 1992). Here, although Sheffield did not solicit TelexFree, Sheffield agreed

to provide advice and assistance to TelexFree on marketing, organizational structure, product, and

project management. See Docket No. 1359-1 at 2-3. The consulting agreement into which

Sheffield and TelexFree entered specified that TelexFree was based in Massachusetts. See id. at

2. And Sheffield provided advice and assistance to TelexFree pursuant to that agreement. 5CAC

at ¶¶ 1085, 1092. Viewing the facts in the plaintiffs’ favor, see Cossart v. United Excel Corp., 804

F.3d 13, 18 (1st Cir. 2015), Sheffield “attempted to participate in the commonwealth’s economic

life,” see United Elec., 960 F.2d at 1087.

       Further, as the consulting agreement exemplifies, Sheffield “contract[ed] to supply

services” in Massachusetts. TelexFree, a Massachusetts-based entity, hired Sheffield to provide

advice concerning, inter alia, its mission statement, corporate values, and organizational structure.

Docket No. 1359-1. Even though Sheffield was located outside Massachusetts when it rendered

this advice, Sheffield in effect delivered this advice to Massachusetts, for use in Massachusetts.

See Droukas v. Divers Training Acad., Inc., 376 N.E.2d 548, 553 (Mass. 1978).

       For jurisdiction to be proper under the Massachusetts long-arm statute, the plaintiffs’

claims must “aris[e] from” the defendant’s relevant conduct. See Singer v. Piaggio & C., 420 F.2d

679, 681 (1st Cir. 1970). In deciding whether a claim “aris[es] from” a defendant’s relevant

conduct, courts assess whether the defendant’s relevant conduct was a “but for” cause of the

plaintiff’s alleged harm. See Cossart, 804 F.3d at 18. The plaintiffs allege that Sheffield helped

TelexFree “operate without interruption,” by, among other things, facilitating staffing and IT

services for TelexFree.    5CAC at ¶¶ 1094, 1111.         It is plausible that, but for Sheffield’s

involvement with TelexFree’s operations, the plaintiffs would have withdrawn their investments



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before the scheme’s eventual collapse, and accordingly, would not have suffered financial losses.

Thus, Sheffield is subject to personal jurisdiction under the Massachusetts long-arm statute.

       Due process requires that the defendant “have certain minimum contacts with [the forum]

such that the maintenance of the suit does not offend ‘traditional notions of fair play and substantial

justice.’” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (quoting Milliken v. Meyer, 311

U.S. 457, 463 (1940)). Courts consider (1) whether the plaintiffs’ claims directly arise from or

relate to the defendant’s activities in the forum, (2) whether the defendant purposefully availed

itself of the privilege of conducting activities in the forum, and (3) whether the exercise of

jurisdiction is reasonable under the circumstances. See Motus, 23 F.4th at 122.

       For the reasons already stated, the plaintiffs’ claims sufficiently “arise from” Sheffield’s

Massachusetts-related conduct. Moreover, through its agreement to provide consulting services

to TelexFree, a Massachusetts-based entity, Sheffield purposefully availed itself of privilege of

conducting business in Massachusetts.        Sheffield agreed to help TelexFree develop a new

multilevel marketing plan, and then advised TelexFree for months relative to that plan. Sheffield’s

conduct appears to have been voluntary, and, given the nature of multilevel marketing schemes,

see, e.g., United States v. Bunchan, 580 F.3d 66, 67 (1st Cir. 2009), Sheffield reasonably should

have foreseen the possibility of being subject to suit in Massachusetts, see Kuan Chen, 956 F.3d

at 59. While the consulting agreement states that disputes related to the enforcement of the

agreement shall be proper only in Arizona, see Docket No. 1359-1 at 7, not all disputes arising

from Sheffield’s consulting services, like this one, relate to enforcement of the consulting

agreement. Finally, the exercise of jurisdiction is reasonable under the circumstances. See

Adelson, 510 F.3d at 51. Accordingly, Sheffield’s motion to dismiss for lack of personal

jurisdiction is denied.



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       Failure to state a claim. Sheffield argues that the 5CAC should be dismissed for failure to

state a claim because, inter alia, it fails to plead substantial assistance. See Docket No. 1300 at

10-13. A defendant provides substantial assistance to a tortfeasor when the defendant’s actions

are a “substantial factor” in the tortfeasor’s ability to commit the underlying tort. See Turo, 166

N.E.3d at 981. The plaintiffs argue that Sheffield substantially assisted TelexFree by (1) recruiting

Internet marketing experts to work on behalf of the scheme, (2) facilitating the provision of staffing

and IT services to the scheme, and (3) helping develop a new compensation model intended for

use as a legal defense. See Docket No. 1344 at 5, 10. None of these actions, at least insofar as

they are alleged in the 5CAC, substantially assisted the underlying fraud. See JPMorgan Chase

Bank v. Winnick, 406 F. Supp. 2d 247, 257 (S.D.N.Y. 2005).

       First, the plaintiffs allege that Sheffield convinced an Internet marketing expert to work for

TelexFree. 5CAC at ¶ 1108. The plaintiffs do not allege what, if anything, the Internet marketing

expert did for TelexFree. They allege only that the Internet marketing expert provided TelexFree

with “website-related services.” Id. at ¶ 1109. Without more detail, this does not plausibly

constitute substantial assistance.15

       Second, the plaintiffs allege that Sheffield helped TelexFree procure staffing and IT

services. Id. at ¶ 1111. Again, without more detail, it is unclear how these staffing and IT services

substantially contributed to the underlying fraud. To be sure, it is possible, when drawing all

inferences in the plaintiffs’ favor, that these services helped TelexFree in some way. But, as

alleged, it is implausible that these services substantially contributed to the fraudulent scheme.




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           The plaintiffs also allege that Sheffield introduced TelexFree to an Internet marketing
expert who touted that he could help TelexFree “see millions of downloads,” 5CAC at ¶ 1112, but
the plaintiffs do not allege that TelexFree in fact hired this Internet marketing expert.


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        Finally, the plaintiffs allege that Sheffield developed the updated promoter compensation

plan that TelexFree publicly announced on March 9, 2014. Id. at ¶¶ 1103, 1105. The plaintiffs do

not allege, however, that they invested in TelexFree based on this updated plan. Moreover, it is

unclear how the development of this updated plan furthered the underlying fraud in any way. Quite

the opposite, the 5CAC suggests that the updated plan led directly to the scheme’s demise; once

the plan was announced, the scheme’s revenues plummeted, and promoters began increasingly

requesting cash withdrawals of their credits. Id. at ¶¶ 182-84. As alleged in the 5CAC, therefore,

Sheffield’s actions, individually and taken together, do not plausibly constitute substantial

assistance. Accordingly, Sheffield’s motion to dismiss for failure to state a claim is granted.

                          b. Garvey Schubert et al. – Docket No. 1310

        The plaintiffs seek to hold Garvey Schubert Barer, P.C. (“Garvey Schubert”) and four of

its former partners, Robert Weaver, Samuel Kauffman, Gary Tober, and Sara Sandford

(collectively, the “Garvey Schubert Defendants”) liable for tortious aiding and abetting and civil

conspiracy.16 The Garvey Schubert Defendants argue, inter alia, that the Court lacks personal

jurisdiction.

        Allegations. In September 2013, TelexFree retained the Garvey Schubert Defendants for

their criminal defense and international restructuring expertise. 5CAC at ¶¶ 287, 1023. Babener

told Garvey Schubert that TelexFree was operating an unlawful business. Id. at ¶ 1021. Babener

told Kauffman that TelexFree was having issues in Brazil, and that its United States operations

were being modified with assistance from Sheffield “to be more compliant.” Id. at ¶ 1022.



        16
          The 5CAC also includes a claim for unjust enrichment against the Garvey Schubert
Defendants. The Court has not previously dismissed an unjust enrichment claim against them.
Nonetheless, for the reasons stated in the Court’s previous orders, see, e.g., Docket No. 602 at 6-
7, the 5CAC fails to state a claim for unjust enrichment against the Garvey Schubert Defendants.


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Through an email to Merrill, Babener told Kauffman, Sandford, and Tober that TelexFree would

not survive legally unless its operations changed dramatically. Id. at ¶¶ 1025, 1027.

       On October 8, 2013, Merrill emailed Sandford and Tober for advice regarding an inquiry

from a Spanish law enforcement agency. Id. at ¶ 1070. Babener recommend that Kauffman take

the lead. Id. Kauffman contacted the Spanish agency to request more information on the

investigation. Id. at ¶ 1071. Sandford (or Kauffman17) emailed a representative at the agency,

stating that TelexFree had tens of thousands of customers using its VoIP service, and that

TelexFree marketed VoIP plans through its sales force. Id. at ¶ 1072.

       That same month, Sandford sent TelexFree a memo regarding “potential liability” for

operations in the United States “in connection with recent developments in Brazil,” along with

suggestions for restructuring TelexFree’s operations worldwide. Id. at ¶ 1035. Garvey Schubert

advised TelexFree to legally separate the United States market from all other markets and to move

its assets abroad. Id. at ¶ 1031. Sandford and Tober cautioned TelexFree against using payment

processors that may be subject to jurisdiction in the United States or that may voluntarily comply

with United States court orders. Id. at ¶ 1039. Sandford and Tober identified possible banks and

locations for new accounts. Id. at ¶ 1045.

       In December 2013, Garvey Schubert helped TelexFree secure new banking relationships

by provided a misleading letter for Merrill’s signature regarding TelexFree’s legality. Id. at ¶

1051. Sandford and Tober also planned tax strategies for TelexFree, including advising on 2013

year-end tax options and methods for reducing taxable income and limiting tax exposure. Id. at ¶¶

1030-37.




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         An email attached to the Garvey Schubert Defendants’ motion to dismiss suggests that
it was Kauffman, not Sandford, who sent this email. Docket No. 1310-8.
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        On March 6, 2014, TelexFree formed an entity in the Cayman Islands. Id. at ¶ 1064.

Garvey Schubert assisted in setting up this entity, as well as a related bank account, for the purpose

of moving money out of the United States. Id. at ¶¶ 1058, 1061. On March 19, 2014, Weaver

drafted a letter for Babener to send to TelexFree’s banking partners to persuade them to continue

servicing TelexFree’s accounts. Id. at ¶ 1066. On April 8, 2014, Weaver advised TelexFree that

lawsuits from promoters needed to be dealt with quickly and consistently to avoid provoking

complaints to criminal investigative agencies. Id. at ¶ 1075. Weaver also helped TelexFree craft

misleading responses to Massachusetts regulatory inquiries. Id. at ¶¶ 48, 1076.

        During 2013 and 2014, Garvey Schubert maintained offices in Washington, Oregon,

Alaska, New York, Washington, D.C., and China. Docket No. 1310-1 at ¶ 4. Tober worked out

of the Washington office. Docket No. 1310-2 at ¶ 1. While advising TelexFree, he communicated

sporadically with two TelexFree employees via email and telephone. Id. at ¶ 5. At no point did

he travel to Massachusetts. Id. at ¶ 7. Kauffman worked out of the Oregon office. Docket No.

1310-4 at ¶ 1. He billed 6.8 hours to TelexFree and communicated with two TelexFree employees

via email and telephone. Id. at ¶¶ 3, 6. He also did not travel to Massachusetts at any point. Id.

at ¶ 8. Sandford worked out of the Washington office. Docket No. 1310-5 at ¶ 1. She

communicated with three TelexFree employees via email and telephone and did not travel to

Massachusetts in connection with her representation of TelexFree. Id. at ¶¶ 5, 7. Weaver worked

out of the Oregon office. Docket No. 1310-3 at ¶ 1. He traveled to Massachusetts twice to meet

with Merrill and Wanzeler in connection with an investigation by Massachusetts securities

regulators. Id. at ¶ 6.

        Personal jurisdiction. The Garvey Schubert Defendants argue that the 5CAC should be

dismissed for lack of personal jurisdiction. See Docket No. 1312 at 12. The plaintiffs bear the



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burden of demonstrating personal jurisdiction (1) under the Massachusetts long-arm statute and

(2) consistent with due process. See Motus, 23 F.4th at 124.

       The Massachusetts long-arm statute permits personal jurisdiction over, inter alia, “a

person, who acts directly or by an agent, as to a cause of action in law or equity arising from the

person’s (a) transacting any business in this commonwealth.” M. G. L. c. 223A, § 3. Courts

construe the term “transacting any business” broadly. See Workgroup Tech. Corp. v. MGM Grand

Hotel, LLC, 246 F. Supp. 2d 102, 109 (D. Mass. 2003). “A defendant need not be physically

present in a state to ‘transact business’ in that state.” M-R Logistics, LLC v. Riverside Rail, LLC,

537 F. Supp. 2d 269, 275 (D. Mass. 2008). The defendant, however, must have “attempted to

participate in the commonwealth’s economic life,” see United Elec., 960 F.2d at 1087, by engaging

in a “purposeful” act in or directed at Massachusetts, see Hannon v. Beard, 524 F.3d 275, 280 (1st

Cir. 2008). In deciding whether a claim “arises from” from a defendant’s “transacting any

business” in Massachusetts, courts consider “whether the transacted business was a ‘but for’ cause

of the harm alleged in the claim.” Cossart, 804 F.3d at 18.

       The plaintiffs allege that Kauffman assisted TelexFree in responding to an inquiry from a

Spanish law enforcement agency, and that Tober and Sandford worked with TelexFree on

international restructuring and tax matters, advising TelexFree to, inter alia, use payment

processors outside the United States.        Kauffman, Tober, and Sandford never traveled to

Massachusetts; they communicated with TelexFree employees only by email and telephone. An

out-of-state attorney’s contacts with a forum state client -- on matters unrelated to the forum state

-- do not confer personal jurisdiction over the out-of-state attorney in the forum state. See Sawtelle

v. Farrell, 70 F.3d 1381, 1391 (1st Cir. 1995). The cases on which the plaintiffs rely are

distinguishable. In JRS Partners, GP v. Leech Tishman Fuscaldo & Lampl, LLC, 2020 WL



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5877131, at *5 (M.D. Tenn. Oct. 2, 2020), for example, the defendant attorney spoke directly with

the plaintiffs in the forum state, making misrepresentations which gave rise to the plaintiffs’

claims. Here, by contrast, Kauffman, Tober, and Sandford’s alleged representation of TelexFree

was not directed at Massachusetts. Thus, Kauffman, Tober, and Sandford are not subject to

personal jurisdiction in Massachusetts for their alleged representation of TelexFree.

       The plaintiffs allege that Weaver assisted TelexFree in connection with a Massachusetts-

based investigation and traveled to Massachusetts twice to meet with Merrill and Wanzeler. This

alleged representation -- Weaver’s only Massachusetts-related contact -- was not plausibly a “but

for” cause of the plaintiffs’ harm. The plaintiffs allege that they suffered financial losses after

tendering funds for TelexFree memberships and their promised pre-March 9, 2014 returns. The

plaintiffs assert, generally, that their injuries can be attributed to any defendant who helped further

the scheme. While the plaintiffs’ injuries plausibly can be connected to defendants who helped

the scheme operate, grow, and divert funds, Weaver’s alleged representation of TelexFree in

Massachusetts did not plausibly help the scheme in these ways. It is implausible that, but for

Weaver’s representation of TelexFree before Massachusetts regulators, the plaintiffs would not

have been injured. Thus, Weaver is not subject to personal jurisdiction in Massachusetts for his

alleged representation of TelexFree.

       The plaintiffs contend that Garvey Schubert is vicariously liable for the actions taken by

Kauffman, Tober, Sandford, and Weaver. Because the Court lacks personal jurisdiction over the

individual defendants, the Court lacks personal jurisdiction over Garvey Schubert as well. The

plaintiffs also assert that personal jurisdiction is proper under a conspiracy theory of jurisdiction.

The First Circuit has not adopted this theory, see Glaros v. Perse, 628 F.2d 679, 682 (1st Cir.

1980); Ward v. Auerbach, 2017 WL 2724938, at *12 n.8 (D. Mass. Jun. 23, 2017), and the Court



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declines to do so here. Finally, the plaintiffs’ explanation that they do not have every detail

concerning Garvey Schubert’s activities directed at Massachusetts does not, without more, warrant

jurisdictional discovery.    See Motus, 23 F.4th at 128.       Accordingly, the Garvey Schubert

Defendants’ motion to dismiss is granted.

                              c. Estate of Babener – Docket No. 1311

        The plaintiffs seek to hold the Estate of Jeffery A. Babener (the “Estate”) liable for

violations of M. G. L. c. 93, §§ 12 and 69, violations of M. G. L. c. 93A, §§ 2 and 11, civil

conspiracy, negligent misrepresentation, violations of M. G. L. c. 410(b), fraud, and tortious aiding

and abetting.18 The Estate argues that the 5CAC should be dismissed for lack of personal

jurisdiction and for failure to state a claim.

        Allegations. Babener provided legal and business advice to TelexFree from August 2013

to April 2014. 5CAC at ¶¶ 285, 981, 986. In August 2013, Babener advised TelexFree that its

United States operations had the same legal problems as its operations in Brazil. Id. at ¶ 983. In

September 2013, Babener advised Merrill that TelexFree “will not survive legally (civil or

criminal) . . . unless there is a dramatic change.” Id. at ¶ 984. In October 2013, Babener advised

Merrill that TelexFree was “at risk under state and federal legislation so long as you offer the

current program.” Id. at ¶ 1013.

        Despite this advice, Babener acted as TelexFree’s “unofficial CEO,” referring to himself

as TelexFree’s “point person” relative to outside consultants. Id. at ¶ 986. Babener reviewed

documents, leveraged contacts, and strategized about how to respond to regulators. Id. at ¶ 988.




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           The 5CAC also includes a claim for unjust enrichment against the Estate. The Court has
not previously dismissed an unjust enrichment claim against the Estate. Nonetheless, for the
reasons stated in the Court’s previous orders, see, e.g., Docket No. 602 at 6-7, the 5CAC fails to
state a claim for unjust enrichment against the Estate.
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Babener introduced TelexFree to attorneys in England and Florida for assistance in those

jurisdictions. Id. at ¶¶ 995-97, 1004. Babener also offered to introduce TelexFree to a new

payment processor; endorsed a plan to break up an $18 million check into smaller amounts to

avoid scrutiny; identified new investment opportunities; and crafted misleading responses to

regulators. Id. at ¶¶ 998, 1000, 1006-07. Babener further advised TelexFree to move its funds

outside of Massachusetts, to have promoters in the United States sign up with offshore entities

instead, and to continue to hold promoter training events in Florida. Id. at ¶¶ 1010-11, 1014.

Finally, Babener composed, reviewed, and approved misleading press releases. Id. at ¶ 1018.

          Babener was based in Oregon and traveled to Massachusetts only once in connection with

his representation of TelexFree. Docket No. 1314-2 at 2. He attended depositions taken of Merrill

and Wanzler by Massachusetts securities regulators. Id. The plaintiffs added Babener as a

defendant in this case in the Fourth Consolidated Amended Complaint. After Babener died in

2020, the Court allowed the plaintiffs to substitute the Estate as a defendant in Babener’s place.

          Personal jurisdiction. The Estate argues that the Court lacks personal jurisdiction. See

Docket No. 1314 at 14. The plaintiffs bear the burden of demonstrating personal jurisdiction (1)

under the Massachusetts long-arm statute and (2) consistent with due process. See Motus, 23 F.4th

at 124.

          The Massachusetts long-arm statute permits personal jurisdiction over, inter alia, “a

person, who acts directly or by an agent, as to a cause of action in law or equity arising from the

person’s (a) transacting any business in this commonwealth.” M. G. L. c. 223A, § 3. Courts

construe the term “transacting any business” broadly. See Workgroup Tech. Corp., 246 F. Supp.

2d at 109. “A defendant need not be physically present in a state to ‘transact business’ in that

state.” M-R Logistics, 537 F. Supp. 2d at 275. The defendant, however, must have “attempted to



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participate in the commonwealth’s economic life,” see United Elec., 960 F.2d at 1087, by engaging

in a “purposeful” act in or directed at Massachusetts, see Hannon, 524 F.3d at 280. In deciding

whether a claim “arises from” from a defendant’s “transacting any business” in Massachusetts,

courts consider “whether the transacted business was a ‘but for’ cause of the harm alleged in the

claim.” Cossart, 804 F.3d at 18.

       Here, although Babener traveled to Massachusetts only once, the plaintiffs allege that he

provided legal and business advice to TelexFree over the course of eight months. This legal advice

was not directed solely at matters outside Massachusetts. Cf. Sawtelle, 70 F.3d at 1391. Rather,

the plaintiffs allege that Babener helped TelexFree defend itself against an investigation by

Massachusetts regulators. In addition, the plaintiffs allege that Babener provided business advice

to TelexFree by coordinating various outside advisors, providing investment recommendations,

and leveraging his contacts.      These actions, concerning TelexFree’s Massachusetts-centered

operations, were sufficiently directed at Massachusetts to constitute attempts by Babener to

participate in the Commonwealth’s economic life. See United Elec., 960 F.2d at 1087. Further, it

is at least plausible that these efforts to assist TelexFree with its operations were a “but for” cause

of the plaintiffs’ harm. For example, by functioning as TelexFree’s “point person” relative to

outside consultants, Babener plausibly helped TelexFree continue to operate its fraudulent scheme

and abscond with investor funds.

       Due process requires that the defendant “have certain minimum contacts with [the forum]

such that the maintenance of the suit does not offend ‘traditional notions of fair play and substantial

justice.’” Int’l Shoe Co, 326 U.S. at 316 (quoting Milliken, 311 U.S. at 463). Courts consider (1)

whether the plaintiffs’ claims directly arise from or relate to the defendant’s activities in the forum,

(2) whether the defendant purposefully availed itself of the privilege of conducting activities in the



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forum, and (3) whether the exercise of jurisdiction is reasonable under the circumstances. See

Motus, 23 F.4th at 122.

       Here, the plaintiffs’ claims “directly arise from” Babener’s activities in Massachusetts.

The plaintiffs allege that Babener helped operate the unlawful scheme, which was based in

Massachusetts. Babener also “purposefully availed” himself of the privilege of conducting

activities in Massachusetts.    Babener not only provided legal advice in connection with a

Massachusetts regulatory investigation and advised TelexFree on its operations, but Babener

advised TelexFree to get “out of [Massachusetts] as soon as you can,” to get “assets beyond the

control of [Massachusetts],” and to do so in a way “that doesn’t trigger action by [Massachusetts].”

5CAC at ¶ 1009. By advising TelexFree to move its assets beyond the reach of Massachusetts

regulators, knowing that Massachusetts was investigating TelexFree for potential securities

violations, and knowing that TelexFree had been operating unlawfully, Babener reasonably should

have foreseen being “haled into court” in Massachusetts. See PREP Tours, Inc. v. Am. Youth

Soccer Org., 913 F.3d 11, 20 (1st Cir. 2019). Finally, considering that the scheme was based in

Massachusetts, and that pretrial proceedings have been consolidated in Massachusetts, the exercise

of jurisdiction in Massachusetts is reasonable under the circumstances. See Ticketmaster-New

York, Inc. v. Alioto, 26 F.3d 201, 209 (1st Cir. 1994) (outlining factors).

       Choice of law. The Estate argues that Oregon law applies to the plaintiffs’ claims. See

Docket No. 1314 at 23. The plaintiffs counter that Massachusetts law applies. See Docket No.

1350 at 71. Massachusetts choice-of-law principles determine which state’s substantive law

applies. See In re Volswagen & Audi Warranty Extension Litig., 692 F.3d 4, 17 (1st Cir. 2012).

Massachusetts courts follow a “functional approach to choice of law,” Levin v. Dalva Brothers.

Inc., 459 F.3d 68, 74 (1st Cir. 2006) (quoting Bushkin Assocs., Inc. v. Raytheon Co., 473 N.E.2d



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662, 668 (Mass. 1985)), which means that they consider which state has the “most significant

relationship” to the claims at issue, see Foise v. Worcester Polytechnic Institute, 967 F.3d 27, 41-

42 (1st Cir. 2020). To determine which state has the most significant relationship to a claim that

sounds in tort, as the plaintiffs’ claims do here, “Massachusetts courts consider, among other

things, the place where the injury occurred, the place where the conduct causing the injury

occurred, the domicil, residence, nationality, place of incorporation and place of business of the

parties, and the place where the relationship, if any, between the parties is centered.” Cornwell

Entertainment, Inc. v. Anchin, Block & Anchin, LLP, 830 F.3d 18, 34 (1st Cir. 2016) (quotations

omitted). Here, the plaintiffs’ injury appears to have occurred in Massachusetts; Babener’s

conduct mostly occurred in Oregon; the parties’ domiciles were split between Massachusetts and

Oregon; and the parties did not have a direct relationship. The TelexFree scheme, however, was

centered in Massachusetts, and the plaintiffs allege that Babener furthered the scheme by providing

legal and business advice to its operators over the course of eight months.           On balance,

Massachusetts has the most significant relationship to the plaintiffs’ claims.        Accordingly,

Massachusetts law applies.19

       Statutory claims. The plaintiffs assert three statutory claims against the Estate: violations

of the Massachusetts multilevel marketing law, M. G. L. c. 93, §§ 12 and 69; violations of the

Massachusetts consumer protection law, M. G. L. c. 93A, §§ 2 and 11; and violations of the

Massachusetts securities law, M. G. L. c. 110a, § 410(b).

       The Massachusetts multilevel marketing law prohibits multilevel marketing companies and

any “participant” from operating or participating in any multilevel marketing program where




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         The Estate argues that the plaintiffs’ tort claims are time-barred only under Oregon law,
which does not apply.
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financial gains to participants are “primarily dependent upon the continued, successive recruitment

of other participants and where retail sales are not required as a condition precedent to realization

of such financial gains.” M. G. L. c. 93, § 69. The Estate argues that the 5CAC fails to state a

claim under the Massachusetts multilevel marketing law because Babener was not a “participant”

in the scheme, which the Court previously defined as encompassing individuals who participate in

the distribution chain for goods or services offered by the multilevel marketing company, recruit

new participants, and pay or receive commissions, bonuses, or finder’s fees. See In re TelexFree

Securities Litig., 358 F. Supp. 3d 98, 101 (D. Mass. 2019). The plaintiffs contend that Babener

was a “participant” in the scheme because he coordinated outside consultants, advised on

operations, and acted as a “de facto CEO.” See Docket No. 1350 at 64. Despite the plaintiffs’

characterization of Babener as a “de facto CEO,” the plaintiffs’ allegations do not suggest that

Babener actively recruited promoters to the scheme or received compensation for such recruitment.

Cf. In re TelexFree Securities Litig., 358 F. Supp. at 101. Even accepting that Babener assisted

the scheme’s operations, Babener was not a “participant” in the scheme within the meaning of the

statute. Accordingly, the 5CAC fails to state a claim under M. G. L. c. 93, §§ 12 and 69.

       The Massachusetts consumer protection law prohibits “unfair or deceptive acts or practices

in the conduct of any trade or commerce.” See M. G. L. c. 93A, § 2. For an attorney to be held

liable under M. G. L. c. 93A, the attorney must have been “acting in a business context.” Miller

v. Mooney, 725 N.E.2d 545, 551 (Mass. 2000). Here, the plaintiffs do not allege that they had any

direct contact with Babener. This case is thus unlike Kirkland Const. Co. v. James, 658 N.E.2d

699, 701 (Mass. App. Ct. 1995), on which the plaintiffs rely. Even accepting that Babener

provided business advice, not just legal advice, to TelexFree, the 5CAC fails to state a claim

against Babener under M. G. L. c. 93A.



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       The Massachusetts securities law prohibits any seller or “partner, officer, or director of

such a seller” from selling a “security” by means of any untrue statement or omission of material

fact. See M. G. L. c. 110, § 410. Although the plaintiffs contend that he was a de facto CEO of

TelexFree, the plaintiffs have not identified any untrue statement of material fact, or omission of

material fact, Babener made in connection with the sale of a security. Thus, the 5CAC fails to

state a claim under M. G. L. c. 110, § 410(b).

       Fraud claims. The plaintiffs allege that the Estate is liable for fraud and negligent

misrepresentation. To state a claim for fraud under Massachusetts law, the plaintiff must plead

that “(1) the defendant made a false representation of a material fact with knowledge of its falsity

for the purpose of inducing the plaintiff to act thereon; (2) the plaintiff relied upon the

representation as true and acted upon it to his or her detriment; and (3) such reliance was reasonable

under the circumstances.” H1 Lincoln, Inc. v. South Washington Street, LLC, 179 N.E.3d 545, 560

(Mass. 2022) (cleaned up). To state a claim for negligent misrepresentation under Massachusetts

law, the plaintiff must plead that the defendant “(1) in the course of its business, (2) supplied false

information for the guidance of others (3) in their business transactions, (4) causing and resulting

in pecuniary loss to those others (5) by their justifiable reliance upon the information, and (6) that

it failed to exercise reasonable care or competence in obtaining or communicating the

information.” Cummings v. HPG Intern., Inc., 244 F.3d 16, 24 (1st Cir. 2001). The plaintiffs

allege that Babener “composed, reviewed, and approved misleading press releases through April

2014.” 5CAC at ¶ 1018. This sole allegation is conclusory and lacks the specificity required by

Rule 9(b). Thus, the 5CAC fails to state a claim for fraud and negligent misrepresentation against

the Estate.




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       Aiding and abetting & civil conspiracy. The plaintiffs allege that the Estate is liable for

tortious aiding and abetting and civil conspiracy. A claim for tortious aiding and abetting requires

proof that (1) an underlying tort was committed, (2) the defendant had actual knowledge of the

underlying tort, and (3) the defendant substantially assisted the commission of the underlying tort.

See Turo, 166 N.E.3d at 981. A claim for civil conspiracy (under a substantial assistance theory,

see Docket No. 1350 at 65) similarly requires proof that (1) the defendant gave substantial

assistance to or encouraged a tortfeasor’s conduct, and (2) the defendant knew that such conduct

was tortious. See Kyte v. Philip Morris Inc., 556 N.E.2d 1025, 1027 (Mass. 1990).

       The 5CAC plausibly alleges that Babener had actual knowledge of and substantially

assisted the TelexFree fraud. In September 2013, Babener told Merrill that TelexFree “will not

survive legally . . . unless there is a dramatic change.” 5CAC at ¶ 984. As Babener continued to

advise TelexFree, no such “dramatic change” occurred, at least until March 2014. Babener assisted

the scheme by reviewing documents, advising TelexFree on how to position itself to banks,

bringing in other consultants and advisors, and identifying outlets into which to relocate victim

funds. Id. at ¶¶ 988, 991-92, 996, 1003, 1006, 1016. This assistance plausibly was a “substantial

factor” in the commission of the underlying fraud. Had Babener not stepped in to assist TelexFree

when he did, it is plausible that the scheme would not have been able to attract new investors and

abscond with new and existing investor funds. Thus, the 5CAC states a claim for tortious aiding

and abetting and civil conspiracy against the Estate.

       Accordingly, the Estate’s motion is granted in part and denied in part. The motion is

denied as the plaintiffs’ tortious aiding and abetting and civil conspiracy claims. The motion is

granted as to the plaintiffs’ remaining claims.

                                    d. PwC – Docket No. 1317



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       The plaintiffs seek to hold PricewaterhouseCoopers LLP (“PwC”) liable for tortious aiding

and abetting.20 PwC argues that the plaintiffs lack Article III standing, and that the 5CAC fails to

state a claim by not adequately alleging, inter alia, substantial assistance.

       Allegations. PwC provided tax and business advice to TelexFree from January 2014 to

April 2014. 5CAC at ¶ 1113. Before doing so, PwC learned that TelexFree had been shuttered in

Brazil due to allegations that it was engaged in a pyramid scheme, and that it was facing allegations

concerning its identical business model in the United States. Id. at ¶ 1121. PwC also learned that

TelexFree sold no product and was dependent on funds from new promoters to sustain its

operations. Id. at ¶ 1124.

       Beginning in January 2014, Richard Colabella and Jerry Puzey, two high-level PwC

employees, worked with TelexFree on moving money overseas, international expansion, taxation,

and corporate restructuring. Id. at ¶ 1125. Colabella and Puzey recommended that TelexFree open

accounts in countries with lax tax regulations and favorable multilevel marketing laws and

suggested that TelexFree, LLC transfer its contractual rights to overseas agents and customers to

a new overseas entity. Id. at ¶¶ 1128, 1130.

       PwC developed a “Proposed Global Business Alignment” for TelexFree, which Colabella

and Puzey presented to Merrill and Wanzeler in January 2014. Id. at ¶¶ 1129, 1131. During the

presentation, the group discussed the fact that TelexFree was facing regulatory scrutiny, and that

their objective was to restructure TelexFree to avoid United States regulators, divert funds

offshore, and minimize United States taxes. Id. at 1131. TelexFree ultimately adopted the

presentation’s “executive level concept” and “overarching strategy.” Id. at ¶¶ 1129, 1139.



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           The 5CAC also includes a claim for unjust enrichment against PwC. The plaintiffs
included this claim only to preserve their appellate rights. See Docket No. 1339 at 13. To be clear,
the unjust enrichment claim against PwC remains dismissed.
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        Later, Colabella and Puzey participated in an email exchange with Merrill, Wanzeler,

Babener, Garvey Schubert, and others regarding the establishment of a foreign entity for TelexFree

in the Cayman Islands, a location PwC had recommended, as well as the establishment of a bank

account for that entity. Id. at ¶¶ 1135-36. Garvey Schubert formed the Cayman entity on March

6, 2014. Id. at ¶ 1137. PwC also helped TelexFree expand into Colombia and Ecuador. Id. at ¶

1139.

        PwC further helped TelexFree with tax issues, advising TelexFree to prepare “inaccurate”

1099 forms, which TelexFree did. Id. at ¶¶ 1140, 1142. Finally, PwC worked with Merrill to limit

the information TelexFree provided to Massachusetts regulators and participated in the submission

of a “cooked” set of books to Massachusetts regulators. Id. at ¶¶ 1149-50.

        Standing. PwC contends that the plaintiffs lack Article III standing. See Docket No. 1318

at 15. To establish standing, the plaintiffs must demonstrate that they have suffered an “injury in

fact” that is “fairly traceable” to the defendant’s conduct and “redressable” by the court. Spokeo,

at 338. The plaintiffs allege that they suffered financial losses, which is sufficient at the pleading

stage to establish an injury in fact. See Nat. Res. Def. Council, Inc., 710 F.3d at 85. The plaintiffs

also allege that PwC helped TelexFree sustain its illegal operations, which is sufficient at the

pleading stage to establish traceability. See Mastafa, 2008 WL 4378443, at *2-3 (finding causation

for purposes of Article III standing satisfied where the plaintiffs alleged that the defendant aided

and abetted the principal tortfeasor). Contrary to PwC’s assertion, the timing of the plaintiffs’

investment is not dispositive. It is at least plausible that the longer the scheme lasted, and the

greater number of promises the scheme made to investors, the more likely the plaintiffs’ losses

from earlier investments became. To the extent the plaintiffs allege that PwC helped TelexFree

sustain its illegal operations, therefore, the plaintiffs sufficiently allege that their losses are “fairly



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traceable” to PwC’s conduct. See Attias v. Carefirst, Inc., 856 F.3d at 629. The plaintiffs’

allegations are sufficient at the pleading stage to establish Article III standing. See In re TelexFree

Securities Litig., 358 F. Supp. 3d at 121.

       Substantial assistance. PwC argues that the 5CAC does not adequately allege substantial

assistance. See Docket No. 1318 at 20-24. A defendant provides substantial assistance to a

tortfeasor when the defendant’s actions are a “substantial factor” in the tortfeasor’s ability to

commit the underlying tort. See Turo, 166 N.E.3d at 981. While the 5CAC alleges that PwC

advised TelexFree on moving money overseas, international expansion, corporate restructuring,

and taxation, the 5CAC does not allege how this advice contributed to the underlying fraud. See

JPMorgan Chase Bank v. Winnick, 406 F. Supp. 2d 247, 257 (S.D.N.Y. 2005).

       First, the 5CAC does not allege that PwC’s advice caused TelexFree to move money

overseas. Although the 5CAC alleges, “[u]pon information and belief,” that Merrill used an entity

in Nevis to move money outside the United States, see 5CAC at ¶ 1056, the 5CAC does not clearly

link the Nevis entity to PwC, see id. at ¶ 1133 (alleging that Babener suggested moving money to

Nevis); see also Docket No. 1415 at 5-6. Moreover, while the 5CAC clearly links PwC to the

formation of a Cayman entity, the 5CAC does not allege that the Cayman entity was used to

offshore funds.

       Second, the 5CAC does not allege how PwC’s advice on international expansion and

corporate restructuring, even if acted upon at a high level, see 5CAC at ¶¶ 1129, 1139, contributed

to the underlying fraud. The 5CAC alleges that PwC helped TelexFree expand to Colombia and

Ecuador, for instance, see id. at 1139, but the 5CAC does not provide any indication as to how that

expansion affected promoters in the United States, such as the plaintiffs, see id. at ¶¶ 32-33, 1193.

Similarly, the 5CAC alleges that PwC advised TelexFree to establish an overseas entity to which



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TelexFree, LLC’s contractual rights to overseas promoters and customers could be transferred, see

id. at ¶ 1130, but again, the 5CAC does not allege how this transfer affected promoters in the

United States, such as the plaintiffs.

        Finally, the 5CAC does not allege, with the requisite specificity, how PwC’s advice on tax

matters or regulatory responses constituted or furthered the underlying fraud. The 5CAC does not,

for instance, specify what was “inaccurate” about PwC’s advice regarding the mailing of 1099 tax

forms, nor how the books PwC allegedly participated in preparing for Massachusetts regulators

were “cooked.” These allegations “fail to cross ‘the line between the conclusory and the factual.’”

Penalbert-Rosa, 631 F.3d at 595 (quoting Twombly, 550 U.S. at 557 n.5); see also Docket No. 595

at 9.

        The 5CAC does not plausibly allege that PwC substantially assisted the underlying fraud;

accordingly, the 5CAC fails to state a claim against PwC for tortious aiding and abetting. Thus,

PwC’s motion to dismiss is granted.

                                            Conclusion

        The motions filed by The Sheffield Group, Inc. (Docket No. 1299),21 PNC Bank, N.A.

(Docket No. 1301), International Payout Systems, Inc. (Docket No. 1305), Garvey Schubert Barer,

P.C. (Docket No. 1310), and PricewaterhouseCoopers LLP (Docket No. 1317) are granted. The

motion filed by The Estate of Jeffrey A. Babener (Docket No. 1311) is granted in part and denied

in part. The motions filed by Mauricio Cardenas (Docket No. 1287), Bank of America, N.A.

(Docket No. 1291), Dustin Sparman and Vantage Payments, LLC (Docket No. 1294), TD Bank,




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             The other motion filed by The Sheffield Group (Docket No. 1297) is denied.


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N.A. (Docket No. 1303), Wells Fargo Advisors LLC and Wells Fargo Bank N.A. (Docket No.

1307), and ProPay, Inc. (Docket No. 1316) are denied.



SO ORDERED

                                                                /s/ Timothy S. Hillman
                                                             TIMOTHY S. HILLMAN
                                                                   DISTRICT JUDGE




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